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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHO
                                        EASTERN DIVISION


UNITED STATES OF AMERICA,                         )       Case No. 1:22 CR 236
                                                  )
                Plaintiff,                        )       JUDGE BENITA Y. PEARSON
                                                  )
        vs.                                       )       MAGISTRATE JUDGE
                                                  )       CARMEN E. HENDERSON
JENNIFER ALBANNA,                                 )
                                                  )       REPORT AND RECOMMENDATION
                Defendant.                        )       OF MAGISTRATE JUDGE
                                                  )

        Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

Judge Carmen E. Henderson for purposes of receiving, on consent of the parties, the defendant’s offer of

a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record of

the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be accepted

and a finding of guilty entered, the following, along with the transcript or other record of the proceedings

submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation concerning the plea

of guilty proffered by the defendant.

        1.      On October 17, 2023, the defendant, accompanied by counsel, entered a plea of guilty to

                Count 1 of the Superseding Indictment.

        2.      Prior to such proffer, the defendant was examined as to her competency, advised of the

                charge and consequences of conviction, informed that the Federal Sentencing Guidelines

                are advisory and the Court must consider them but the Court may impose any sentence

                authorized by law, notified of her rights, advised that she was waiving all her rights

                except the right to counsel, and, with limited exceptions, her right to appeal, and

                otherwise provided with the information prescribed in Fed. R. Crim. P. 11.
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        3.      The parties and counsel informed the court about the plea agreement between the parties,

                and the undersigned was advised that, aside from such agreement as described or

                submitted to the court, no other commitments or promises have been made by any party,

                and no other agreements, written or unwritten, have been made between the parties.

        4.      The undersigned questioned the defendant under oath about the knowing, intelligent, and

                voluntary nature of the plea of guilty, and finds that the defendant’s plea was offered

                knowingly, intelligently, and voluntarily.

        5.      The parties provided the undersigned with sufficient information about the charged

                offense and the defendant’s conduct to establish a factual basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the United

States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned recommends

that the plea of guilty to Count 1 of the Superseding Indictment be accepted and a finding of guilty be

entered by the Court.

                                                 s/Carmen E. Henderson
                                                 Carmen E. Henderson
                                                 United States Magistrate Judge

Date: October 17, 2023



                   Any objections to this Report and Recommendation must be filed with the Clerk of
    Courts within fourteen (14) days after being served with a copy of this document. Failure to file
    objections within the specified time may forfeit the right to appeal the District Court’s order. See
                      Berkshire v. Beauvais, 928 F. 3d 520, 530-31 (6th Cir. 2019).
